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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         )
                                                 )
              v.                                 )
                                                 )   Nos.
GRAYDON YOUNG,                                   )           1:21-cr-28-6 (APM)
JASON DOLAN,                                     )           1:21-cr-28-15 (APM)
MARK GRODS,                                      )           1:21-cr-437 (APM)
CALEB BERRY,                                     )           1:21-cr-460 (APM)
JOSHUA JAMES,                                    )           1:22-cr-15-5 (APM)
BRIAN ULRICH, and                                )           1:22-cr-15-9 (APM)
WILLIAM TODD WILSON,                             )           1:22-cr-152 (APM)
                                                 )
                        Defendants.              )

                                   JOINT STATUS REPORT

       The government reports that Defendants Graydon Young, Jason Dolan, Mark Grods, Caleb

Berry, Joshua James, Brian Ulrich, and William Todd Wilson continue to cooperate with the

government. The parties request the Court schedule sentencing dates and corresponding briefing

schedules across November, December, and January. The government and counsel for each of the

cooperating defendants have consulted and will reach out to chambers with available dates in that

time range.                           Respectfully submitted,

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